Case 19-32841-hdh11 Doc 235 Filed 12/23/20   Entered 12/23/20 16:04:21   Page 1 of 4
Case 19-32841-hdh11 Doc 235 Filed 12/23/20   Entered 12/23/20 16:04:21   Page 2 of 4
POST CONFIRMATION
QUARTERLY BANK RECONCILEMENT


CASE NAME:
      Dougherty's Pharmacy McAlester, LLC


CASE NUMBER:




The reorganized debtor must complete the reconciliation below for each bank account, including all general, payroll
and tax accounts, as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental
obligations, etc Accounts'with restricted funds should be identified by placing an asterisk next to the account number
Attach additional sheets for each bank reconcilement if necessary


QUARTER ENDING: 3/31/2020
      Bank Reconciliations                                     Account #1                           Account #2                       Account #3              Account #4             Account #5
 A    Bank                                                The Bank, N.A.                      FNBofOmaha                        ProsperityBank         ProsperityBank         RegionsBank
                                                                                                                                                                                                             TOTAL
 B    Account Number                                              1094                              7147                                   4248                   7796                   1529
 C    Purpose (Type)                                          Commercial                       Commercial                           Commercial              Commercial             Commercial
 1    Balance Per Bank Statement                                   $17,241.34                             $0.00                                 $0.00                   $0.00                    $0.00       $17,241.34
 2    Add: Total Deposits Not Credited                                                                                                                                                                   +        $0.00
 3    Subtract: Outstanding Checks                                                                                                                                                                                $0.00
 4    Other Reconciling Items                                             $21.84                                                                                                                                 $21.84
 5    Month End Balance Per Books                                     $17,263.18                                  $0.00                           $0.00                   $0.00                  $0.00 =     $17,263.18
                                                                                                                                                                                                                          Case 19-32841-hdh11 Doc 235 Filed 12/23/20




 6    Number of Last Check Written
 7    Cash: Currency on Hand                                                                                                                                                                             +        $0.00
 8    Total Cash - End Of Month                                       $17,263.18                                  $0.00                           $0.00                   $0.00                  $0.00 =     $17,263.18




      CASH IN:
      INVESTMENT ACCOUNTS
                                                   Date of                             Type of
      Bank, Account Name & Number                  Purchase                            Instrument                                                                                                            Value
 9                                                                                                                                                                                                       +
 10                                                                                                                                                                                                      +
 11                                                                                                                                                                                                      +
 12                                                                                                                                                                                                      +
                                                                                                                                                                                                                          Entered 12/23/20 16:04:21




 13 Total Cash Investments                                                                                                                                                                               =        $0.00
 14 TOTAL CASH                                     LINE 8 - PLUS LINE 13 = LINE 14 ****                                                                                                                      $17,263.18
                                                                                                                                                                                                             ****
 **** Must tie to Line 4, Quarterly Operating Report
                                                                                                                                                                                                                          Page 3 of 4
POST CONFIRMATION
QUARTERLY BANK RECONCILEMENT


CASE NAME:
      Dougherty's Pharmacy McAlester, LLC


CASE NUMBER:




The reorganized debtor must complete the reconciliation below for each bank account, including all general, payroll
and tax accounts, as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental
obligations, etc Accounts'with restricted funds should be identified by placing an asterisk next to the account number
Attach additional sheets for each bank reconcilement if necessary


QUARTER ENDING: 12/31/2019
      Bank Reconciliations                                     Account #1                           Account #2                       Account #3              Account #4               Account #5
 A    Bank                                                The Bank, N.A.                      FNBofOmaha                        ProsperityBank         ProsperityBank           RegionsBank
                                                                                                                                                                                                               TOTAL
 B    Account Number                                              1094                              7147                                   4248                   7796                     1529
 C    Purpose (Type)                                          Commercial                       Commercial                           Commercial              Commercial               Commercial
 1    Balance Per Bank Statement                                   $27,071.96                             $0.00                                 $0.00                 $179.10                      $0.00       $27,251.06
 2    Add: Total Deposits Not Credited                                                                                                                                                                     +        $0.00
 3    Subtract: Outstanding Checks                                                                                                                                                                                  $0.00
 4    Other Reconciling Items                                                                                                                                                                                       $0.00
 5    Month End Balance Per Books                                     $27,071.96                                  $0.00                           $0.00                   $179.10                  $0.00 =     $27,251.06
                                                                                                                                                                                                                            Case 19-32841-hdh11 Doc 235 Filed 12/23/20




 6    Number of Last Check Written
 7    Cash: Currency on Hand                                                                                                                                                                               +        $0.00
 8    Total Cash - End Of Month                                       $27,071.96                                  $0.00                           $0.00                   $179.10                  $0.00 =     $27,251.06




      CASH IN:
      INVESTMENT ACCOUNTS
                                                   Date of                             Type of
      Bank, Account Name & Number                  Purchase                            Instrument                                                                                                              Value
 9                                                                                                                                                                                                         +
 10                                                                                                                                                                                                        +
 11                                                                                                                                                                                                        +
 12                                                                                                                                                                                                        +
                                                                                                                                                                                                                            Entered 12/23/20 16:04:21




 13 Total Cash Investments                                                                                                                                                                                 =        $0.00
 14 TOTAL CASH                                     LINE 8 - PLUS LINE 13 = LINE 14 ****                                                                                                                        $27,251.06
                                                                                                                                                                                                               ****
 **** Must tie to Line 4, Quarterly Operating Report
                                                                                                                                                                                                                            Page 4 of 4
